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                    IN THE UNITED STATES DISTRICT C URT
                         NORTHERN DISTRICT OF TEXAS                JAN - 3 2020
                             FORT WORTH DIVISION

                                                            CLERK, U.S. DISTRICT COURT
CLINE STRICKLAND, ET AL.,               §                    BY--.......-=----
                                                                         kputy
                                        §
              Plaintiffs,               §
                                        §
vs.                                     §   NO. 4:19-CV-750-A
                                        §
THE BANK OF NEW YORK MELLON,            §
ET AL.,                                 §
                                        §
              Defendants.               §


                        MEMORANDUM OPINION AND ORDER

        Came on for consideration the motion of defendants The Bank

of New York Mellon f/k/a The Bank of New York, as successor

trustee to JPMorgan Chase Bank, N.A.,          successor by merger to

Chase Bank of Texas, National Association for Saxon Asset

Securities Trust 1999-5, Mortgage Loan Asset Backed Certificates,

Series 1999-5      ("BONY"), and PHH Mortgage Corporation d/b/a PHH

Mortgage Services, successor by merger to Ocwen Loan Servicing,

LLC    ("Ocwen"), to dismiss. The court, having considered the

motion, the response of plaintiffs, Cline Strickland and Karen

Strickland, the record, and applicable authorities,             finds that

the motion should be granted.

                                       I.

                              Plaintiffs' Claims

        On July 15, 2019, plaintiffs filed their original petition

in the District Court of Parker County, Texas, 415th Judicial
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District. Doc.' 1. at 1. On September 19, 2019, BONY and ocwen

filed their notice of removal, bringing the case before this

court. Id. By order signed October 21, 2019, the court ordered

the parties to file amended pleadings in keeping with the Federal

Rules of Civil Procedure, Local Civil Rules of this court, and

the undersigned's judge-specific requirements. Doc. 14. On

November 4, 2019, plaintiffs filed their amended complaint, Doc.

16, which is virtually identical to their original petition. Doc.

1, Ex. C-1.

           Plaintiffs allege: Plaintiffs own 33.4 acres of land in

Parker County, Texas (the "property"). Doc. 16,                                  ~   7. On September

27, 1999, they obtained a $221,000 loan from Excell Mortgage,

Incorporated ("Excell"), intended to be secured by a portion of

the property. Id.              ~   8. The portion of the property intended to

secure the note was inaccurately described in the deed of trust.

Id.    ~    9. The note and deed of trust were transferred to BONY. Id.

~   10. The loan was serviced by ocwen. Id.                            ~   11. Defendant

Fidelity National Title Agency, Inc.                           ("Fidelity") , 2 insured

title. Id.          ~   13.




           'The "Doc.   "reference is to the number of the item on the docket in this case.

        'There is no proof in the record that plaintiffs have ever served Fidelity, which has not entered an
appearance. The court specifically pointed out in its order for repleading the need for plaintiffs to serve
said defendant. Doc. 14.

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     Further,

     14. Defendants have refused to take action to correctly
     reform the property description in the Deed of Trust in
     a manner that correctly reflects the parties'
     intentions at the time the loan was made.

     15. Additionally, Defendants took aggressive collection
     action in attempting to collect money on a loan that
     had disputes and issues between the parties on how the
     loan was secured.

     16. Defendants' actions placed a cloud of title on the
     Property that made it impossible for Plaintiffs to sell
     any portion of the property, both the portion that
     intended to be encumbered with a lien and the portion
     that was intended to not be encumbered with a lien.

     17. Plaintiffs lost out on sales of the Property or
     portions of the Property due to the acts and omissions
     of Defendants.

Doc. 16, ,, 14-17.

     Plaintiffs assert claims for violations of the Texas

Deceptive Trade Practices-Consumer Protection Act, Tex. Bus. &

Com. Code   §§   17.41-63 ("DTPA"), statutory fraud, common law

fraud, negligence, gross negligence, negligence per se, breach of

contract, "dual tracking," violation of the Texas Debt Collection

Act, Tex. Fin. Code     §§   392.001-.404 ("TDCA"), violation of the

Real Estate Settlement Procedures Act, 12 U.S.C.         §§   2601-17,

("RESPA"), tortious interference with contract, violation of

chapter 12 of the Texas Civil Practice and Remedies Code,

negligent misrepresentation, violation of the Telephone Consumer

Protection Act, and to quiet title/remove cloud on title.



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                                                   II.

                                    Grounds of the Motion

     Movants urge that plaintiffs have failed to state any claim

upon which relief can be granted.

                                                  III.

                            Applicable Pleading Standards'

     Rule 8 (a) (2) of the Federal Rules of Civil Procedure

provides, in a general way, the applicable standard of pleading.

It requires that a complaint contain "a short and plain statement

of the claim showing that the pleader is entitled to relief,"

Fed. R. Civ. P. 8(a) (2), "in order to give the defendant fair

notice of what the claim is and the grounds upon which it rests,"

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555                               (2007)      (internal

quotation marks and ellipsis omitted) . Although a complaint need

not contain detailed factual allegations, the "showing"

contemplated by Rule 8 requires the plaintiff to do more than

simply allege legal conclusions or recite the elements of a cause

of action. Twombly, 550 U.S. at 555 & n.3. Thus, while a court

must accept all of the factual allegations in the complaint as

true, it need not credit bare legal conclusions that are

unsupported by any factual underpinnings. See Ashcroft v. Iqbal,

556 U.S. 662, 679            (2009)      ("While legal conclusions can provide


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        The court pointed out the applicable pleading standards in its order to replead. Doc. 14 at 2 n.3.

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the framework of a complaint, they must be supported by factual

allegations.")

     Moreover, to survive a motion to dismiss for failure to

state a claim, the facts pleaded must allow the court to infer

that the plaintiff's right to relief is plausible. Iqbal, 556

U.S. at 678. To allege a plausible right to relief, the facts

pleaded must suggest liability; allegations that are merely

consistent with unlawful conduct are insufficient. Id. In other

words, where the facts pleaded do no more than permit the court

to infer the possibility of misconduct, the complaint has not

shown that the pleader is entitled to relief. Id. at 679.

"Determining whether a complaint states a plausible claim for

relief .         [is]   a context-specific task that requires the

reviewing court to draw on its judicial experience and common

sense."    Id.

     As the Fifth Circuit has explained: "Where the complaint is

devoid of facts that would put the defendant on notice as to what

conduct supports the claims, the complaint fails to satisfy the

requirement of notice pleading." Anderson v. U.S. Dep't of

Housing & Urban Dev., 554 F.3d 525, 528 (5th Cir. 2008). In sum,

"a complaint must do more than name laws that may have been

violated by the defendant; it must also allege facts regarding

what conduct violated those laws. In other words, a complaint


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must put the defendant on notice as to what conduct is being

called for defense in a court of law." Id. at 528-29. Further,

the complaint must specify the acts of the defendants

individually, not collectively, to meet the pleading standards of

Rule 8(a). See Griggs v. State Farm Lloyds, 181 F.3d 694, 699

(5th Cir. 1999); see also Searcy v. Knight          (In reAm.   Int'l

Refinery), 402 B.R. 728, 738     (Bankr. W.D. La. 2008).

     Rule 9(b) sets forth the heightened pleading standard

imposed for fraud claims: "In alleging fraud or mistake, a party

must state with particularity the circumstances constituting

fraud or mistake." The Fifth Circuit requires a party asserting

fraud to "specify the statements contended to be fraudulent,

identify the speaker, state when and where the statements were

made, and explain why the statements were fraudulent." Hermann

Holdings, Ltd. v. Lucent Techs.,        Inc., 302 F.3d 552, 564-65 (5th

Cir. 2002) (internal quotations and citations omitted). Succinctly

stated, Rule 9(b) requires a party to identify in its pleading

"the who, what, when, where, and how" of the events constituting

the purported fraud. Dorsey v. Portfolio Equities, Inc., 540 F.3d

333, 339 (5th Cir. 2008). Rule 9(b) applies to all cases where

the gravamen of the claim is fraud even though the theory

supporting the claim is not technically termed fraud.           Frith v.

Guardian Life Ins. Co. of Am.,     9 F. Supp. 2d 734, 742       (S.D. Tex.


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1998) . Statutory claims based on allegations of fraud, such as

violations of the Texas Insurance Code, the TDCA, and the Texas

DTPA, as well as those for fraud,        fraudulent inducement,

fraudulent concealment, and negligent misrepresentation are

subject to the requirements of Rule 9(b). Motten v. Chase Home

Fin., 831 F. Supp. 2d 988, 994      (S.D. Tex. 2011); Berry v.

Indianapolis Life Ins. Co., 608 F. Supp. 2d 785, 800          (N.D. Tex.

2009); Frith, 9 F. Supp. 2d at 742.

                                   IV.

                                Analysis

     The elements of a DTPA claim are:        (1) the plaintiff is a

consumer,   (2) defendant violated a specific provision of the

DTPA, and (3) the violation was a producing cause of the

plaintiff's injury. Amstadt v. U.S. Brass Corp., 919 S.W.2d 644,

649 (Tex. 1996). To qualify as a consumer, the plaintiff must

seek or acquire goods or services by purchase or lease and the

goods or services purchased or leased must form the basis of the

complaint. Miller v. BAC Home Loans Servicing, L.P., 726 F.3d

717, 724-25   (5th Cir. 2013). Whether the plaintiff is a consumer

is a question of law. Porter v. Countrywide Home Loans, Inc., No.

V-07-75, 2008 WL 2944670, at *3      (S.D. Tex. July 24, 2008) (citing

Holland Mortgage & Inv. Corp. v. Bone, 751 S.W.2d 515, 517 (Tex.

App.-Houston [1st Dist.] 1987, writ ref'd n.r.e.)). Generally, a


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pure loan transaction lies outside the DTPA because money is not

a good or service. Miller,     726 F.3d at 725. Here, plaintiffs have

pleaded that they obtained a loan, Doc. 16, , 8. The court infers

that they already owned the property as they allege that only

part of it was intended to secure the loan. Id. ,         9. They have

not identified any provision of the DTPA that they allege any

defendant violated. Nor have they alleged that such violation was

a producing cause of their injuries. Accordingly, the first

ground of the motion must be granted.

     The TDCA prohibits debt collectors from using threats,

coercion, or other wrongful practices in the collection of

consumer debts. Gomez v. Wells Fargo Bank, N.A., No. 3:10-CV-381-

B, 2010 WL 2900351, at *3     (N.D. Tex. July 21, 2012). To state a

claim, the plaintiff must allege that the debt at issue is a

consumer debt; the defendant is a debt collector within the

meaning of the statute; the defendant violated the TDCA; the

wrongful act was committed against the plaintiff; and, the

plaintiff was injured as a result. Merely stating that the

defendant violated the TDCA is insufficient to survive a motion

to dismiss. Franklin v. BAC Horne Loans Servicing, L.P., No. 3:10-

CV-1174-M, 2011 WL 248445, at *3        (N.D. Tex. Jan. 26, 2011). That

is all that plaintiffs have done here.




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     The elements of a claim for fraud are: (1) the defendant made

a representation to the plaintiff;       (2) the representation was

material;   (3) the representation was false;       ( 4) when the

defendant made the representation, he knew it was false or made

the representation recklessly and without knowledge of its truth;

(5) the defendant made the representation with the intent that

the plaintiff act on it;     (6) the plaintiff relied on the

representation; and (7) the plaintiff was harmed as a result.

Shandong Yinguang Chern. Indus. Joint Stock Co., Ltd. v. Potter,

607 F.3d 1029, 1032-33    (5th Cir. 2010); Ernst      &   Young, L.L.P, v.

Pacific Mut. Life Ins. Co., 515 S.W.3d 573, 577           (Tex. 2001).

Here, plaintiffs have not pleaded any facts to support any of

their fraud or fraud-type claims. See Williams v. WMX Techs.,

Inc., 112 F.3d 175, 179 (5th Cir. 1997) (to satisfy Fed. R. Civ.

P. 9(b), plaintiffs must allege the "who, what, when, where, and

how"). In addition, the court notes that plaintiffs' statutory

fraud claim must fail inasmuch as a loan transaction, even if

secured by land, is not considered to come under the statute.

Dorsey v. Portfolio Equities, Inc., 540 F.3d 333, 343           (5th Cir.

2008); Burleson State Bank v, Plunkett, 27 S.W,3d 605,           611 (Tex.

App.-Waco 2000, pet. denied).

     The elements of a claim for negligence are:           (1) the

existence of a legal duty,     (2) the breach of that duty by the


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defendant, and (3) damages proximately cause by the breach.

Kroger Co. v. Elwood, 197 S.W.3d 793, 794           (Tex. 2006). To

establish gross negligence, the plaintiff must also show by clear

and convincing evidence that from the defendant's standpoint, the

act or omission complained of involved an extreme degree of risk,

considering the probability and magnitude of the potential harm

to others, and that the defendant had actual subjective awareness

of the risk involved but nevertheless proceeded in conscious

indifference to the rights or safety of others. Lee Lewis

Constr.,   Inc, v. Harrison, 70 S.W.3d 778, 785         (Tex. 2001). Here,

among other deficiencies, plaintiffs have not pleaded facts that

would support the existence of a legal duty owed by defendants.

In the mortgage context, there is no special relationship between

mortgagor and mortgagee, or between servicer and borrower, that

would impose a legal duty. Milton v. U.S, Bank, N.A., 508 F.

App'x 326, 329 (5th Cir, 2013); Miller v. CitiMortgage, Inc.,             970

F. Supp. 2d 568, 585 (N.D. Tex. 2013).

     The elements of a claim for negligence per se are (1) the

defendant's act or omission is in violation of a statute or

ordinance;   (2) the plaintiff was within the class of persons the

statute was designed to protect; and (3) the defendant's act or

omission proximately caused the plaintiff's injury. Ybarra v.

Ameripro Funding, Inc., No. 01-17-000224-CV, 2018 WL 2976126, at


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*9 (Tex. App.-Houston [1st Dist.] June 14, 2018, pet. denied)

Here, plaintiffs have not pleaded any facts to establish

negligence per se.              In particular, they have not alleged facts to

show any statutory violation by any defendant.

        To state a claim for breach of contract, the plaintiff must

allege (1) the existence of a valid contract;                                  (2) performance by

the plaintiff;            (3) breach by the defendant; and (4) resulting

damages to the plaintiff. Lewis v. Bank of Am., N.A.,343 F.3d

540, 544-45 (5th Cir. 2003). Here, plaintiffs do not allege the

existence of a contract between them and any defendant. Nor do

they allege performance by them, assuming there was a contract.'

And, they have not identified any specific provision of any

alleged contract that was breached. Williams v. Wells Fargo Bank,

N.A., 560 F. App'x 233, 238                     (5th Cir. 2014); Baker v. Great N.

Energy, Inc.,           64 F. Supp. 3d 965,               971 (N.D. Tex. 2014).

        In the most cursory manner, plaintiffs refer to "dual

tracking," Doc. 16 at 6, and violation of RESPA. Id.                                      "Dual

tracking" is the term given to the situation where the lender

actively pursues foreclosure while simultaneously considering the

borrower for loss mitigation options. Gresham v. Wells Fargo

Bank, N.A.,         642 F. App'x 355, 359 (5th Cir. 2016). But, the "dual




       'In fact, it appears that plaintiffs breached the only contract they have identified by failing to
make the required mortgage payments, since they have referred to foreclosure proceedings.

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tracking" prohibition applies only when a servicer receives a

complete loss mitigation application more than 37 days before a

foreclosure sale. Id. Here, plaintiffs fail to plead any facts to

show that any defendant violated this provision or any other part

of RESPA.

        Plaintiffs allege that defendants tortiously interfered with

contracts they were attempting to enter into with potential

buyers of their property. Doc. 16, , 44. That is the sum total of

the allegations pertinent to this alleged cause of action.

Plaintiffs do not identify any potential buyers, any potential

contracts, or plead that any defendant was aware of such

potential contract, or how they were injured. See PrevMED, Inc.

v. MNM-1997.      Inc., No. H-15-2856, 2017 WL 785656, at *6      (S.D.

Tex. Feb. 28, 2017) (setting forth elements of tortious

interference)

        Plaintiffs next reference Chapter 12 of the Texas Civil

Practice and Remedies Code, Doc. 16 at 6-7, which pertains to

liability related to fraudulent records. To prevail on such a

claim, the plaintiff must show that        (1) the defendant made,

presented, or used a document with knowledge it was a fraudulent

lien;    (2)   the defendant intended that the document be given legal

effect; and,      (3)   the defendant intended to cause the plaintiff

physical or financial injury or mental anguish. Lassberg v.


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Barrett Daffin Frappier Turner & Engel, L.L.P., No. 4:13-CV-577,

2015 WL 123756, at *5        (E.D. Tex. Jan. 8, 2015). Plaintiffs do not

plead facts to support any of these elements. Dismissal is

appropriate. Id.; Jolem, L.L.C. v. Select Portfolio Servicing,

Inc., No. H-14-3301, 2015 WL 3823642, at *9 (S.D. Tex. June 18,

2015)

        To state a claim for negligent misrepresentation, the

plaintiff must establish that:         (1) the defendant made a

representation in the course of his business, or in a transaction

in which he had pecuniary interest;          (2) the defendant supplied

false information for the guidance of others in their business;

(3) the defendant did not exercise reasonable care or competence

in obtaining or communicating the information; and (4) the

plaintiff suffered pecuniary loss by justifiably relying on the

representation. Chance v. Aurora Loan Servs., L.L.C., No. 3:11-

CV-1237-BH,     2012 WL 912939, *5     (N.D. Tex. Mar. 19, 2005). The

false information complained of must be a misstatement of an

existing fact rather than a promise of future conduct.             Id.;

DeFranceschi v. Wells Fargo Bank, N.A.,          837 F. Supp. 2d 616, 625-

26    (N.D. Tex. 2011). Damages are limited to pecuniary loss alone.

Federal Land Bank Ass'n v. Sloane, 825 S.W.2d 439, 442-43              (Tex.

1991) . Again, plaintiffs have not pleaded any facts to support

such a cause of action.


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        Plaintiffs further mention the "Telephone Consumer

Protections Act" without citing to any statute, federal or state,

or identifying any facts to support such a cause of action. Doc.

16 at 7-8. They have not alleged any such claim.

        Finally, plaintiffs refer to "quiet title/remove cloud on

title," again without alleging any facts to support such a claim

for relief. Doc. 16 at 8. A suit to quiet title is an equitable

action to clear a valid title against a defendant's invalid claim

to the property. Puente v. CitiMortgage, Inc., No. 3:11-CV-2509-

N, 2012 WL 4335997, *3                 (N.D. Tex. Aug. 29, 2012). Plaintiffs must

prove and recover on the strength of their own title, not the

weakness of their adversary's. Id.; Summers v. PennyMac Corp.,

No. 3:12-CV-01235-L, 2012 WL 5944943, *3                            (N.D. Tex. Nov. 28,

2012); Fricks v. Hancock, 45 S.W.3d 322, 327 (Tex. App.-Corpus

Christi 2001, no pet.). Here, plaintiffs have not pleaded any

facts to show that they have superior title. See, e.g., Warren v.

Bank of Am., N.A., 566 F. App'x 379, 382                            (5th Cir.

2014) (plaintiff can show superior right to property such as by

pleading he was current on his mortgage payments) . 5

        In sum, plaintiffs have made nothing more than bare legal

conclusions unsupported by any factual underpinnings. Ashcroft,



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        lt does not appear that plaintiffs could do so in this case as they allege that defendant Oewen
pursued foreclosure of the lien. Doc. 16,1138.

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556 U.S. at 679. For all of the reasons discussed herein and

numerous other reasons pointed out in the motion to dismiss,

plaintiffs have failed to plead any plausible right to relief

against any defendant and their claims must be dismissed.

                                                    v.

                         Request for Leave to Amend Response

        Along with their response to the motion to dismiss,

plaintiffs filed a second motion for leave to file amended

response.' Doc. 23. The court finds that such motion should be

denied. Plaintiffs have had ample time and opportunity to

properly plead their claims. Despite having been warned to comply

with the applicable federal rules, they chose to file an amended

complaint that made the same conclusory allegations as their

original petition. The facts upon which any claims could be based

are, and have always been, within plaintiffs' personal knowledge.

Giving plaintiffs additional time to retain an attorney and to

file an amended response to the motion to dismiss would not serve

any purpose as their pleading is wholly deficient. Further, the

time for amending plaintiffs' complaint to state a claim is long

passed.




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         The court previously granted plaintiffs an extension of time in which to file their response to the
motion to dismiss. Doc. 22.

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                                                    v.
                                                 Order

        The court ORDERS that the motion to dismiss be, and is

hereby, granted, and that plaintiffs' claims against all

defendants' be, and are hereby, dismissed with prejudice.

        SIGNED January 3, 2020.




        'As stated, the record does not reflect that plaintiffs ever served Fidelity. For the same reasons
discussed in this memorandum opinion and order, they have not stated any viable claims against Fidelity.
Accordingly, the court is ordering that the claims against it also be dismissed.

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